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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
SK/EMR/PP/MED                                        271 Cadman Plaza East
F. #2019R00927                                       Brooklyn, New York 11201


                                                     December 9, 2022
By USAfx

César de Castro, Esq.
111 Fulton Street - 602
New York, New York 10038

Florian Miedel, Esq.
80 Broad Street, Suite 1900
New York, New York 10004

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

               Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note the enclosed discovery
contains Protected Material and should be handled consistently with the Protective Order. See
Dkt. No. 19. The government also requests reciprocal discovery from the defendant.
I.     The Government’s Discovery

       Enclosed please find:

       0001167612-0001167638          Intentionally Left Blank

      0001167639-00067661 and
                                      Notes of Reports
       0001167802-0001167804

       0001167662-0001167789          Documents from Mexico and Translation


       0001167790-0001167801          An Affidavit

            CS-2_000001 -
                                      Notes from a Confidential Source
           CS-2_000001788
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        If you have any questions or requests regarding further discovery or a disposition of this
matter, please do not hesitate to contact me.

                                                     Very truly yours,

                                                     BREON PEACE
                                                     United States Attorney

                                              By:     /s/
                                                     Saritha Komatireddy
                                                     Ryan C. Harris
                                                     Erin M. Reid
                                                     Philip Pilmar
                                                     Marietou E. Diouf
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

Enclosures

cc:    Clerk of Court (BMC) (via ECF) (without enclosures)




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